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 1    [Counsel Listed on Signature Pages]
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                                    UNITED STATES DISTRICT COURT
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                                   NORTHERN DISTRICT OF CALIFORNIA
10
                                        SAN FRANCISCO DIVISION
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12   SARAH ANDERSEN, KARLA ORTIZ,
     GRZEGORZ RUTKOWSKI, GREGORY                           Case No. 3:23-cv-00201-WHO
13
     MANCHESS, GERALD BROM, JINGNA
14   ZHANG, JULIA KAYE, ADAM ELLIS;                        JOINT CASE MANAGEMENT
                                                           STATEMENT
15          Individual and Representative Plaintiffs,
                                                           Hearing Date: May 6, 2025
16                                                         Time: 2:00 PM
            v.
                                                           Place: via Zoom
17
     STABILITY AI LTD., STABILITY AI, INC.,                Judge: Hon. William H. Orrick
18   DEVIANTART, INC., MIDJOURNEY, INC.,
     RUNWAY AI, INC.,
19
            Defendants.
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 1             Pursuant to Civil Local Rule 16-9, the Standing Order For All Judges of The Northern District

 2   Of California (updated Nov. 30, 2023), and the Clerk’s Notice Resetting Zoom Hearing, dated

 3   December 16, 2024 (ECF No. 253), counsel for Plaintiffs Sarah Andersen, Karla Ortiz, Grzegorz

 4   Rutkowski, Gregory Manchess, Gerald Brom, Jingna Zhang, Julia Kaye, Adam Ellis, and the proposed

 5   class (together, “Plaintiffs”) and Defendants Stability AI Ltd. and Stability AI, Inc. (together, “Stability

 6   AI”), DeviantArt, Inc. (“DeviantArt”), Midjourney, Inc. (“Midjourney”), and Runway AI, Inc.

 7   (“Runway”) respectfully submit this Joint Case Management Statement in advance of the Case

 8   Management Conference set for May 6, 2025.

 9   1.        Jurisdiction and Service

10             This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 (federal question), as this

11   action alleges violations of the U.S. Copyright Act (17 U.S.C. § 501). All parties have been served.

12   2.        Facts

13             The Parties have no updates regarding the facts in this case to bring to the Court’s attention and

14   incorporate by reference their Statements of Facts from the December 10, 2024, Joint Case Management

15   Statement and Rule 26(f) Report, reserving the right to revise them as necessary. See ECF No. 252 at 1-

16   2.

17   3.        Legal Issues

18             The Parties have no updates regarding the legal issues in this case to bring to the Court’s
19   attention and incorporate by reference their Statements of Legal Issues from the December 10, 2024,

20   Joint Case Management Statement and Rule 26(f) Report, reserving the right to revise them as

21   necessary. See ECF No. 252 at 2.

22   4.        Motions

23             There are no motions pending at this time. The parties hope to resolve discovery disputes

24   without judicial intervention but anticipate that discovery motions may be necessary. The parties also

25   anticipate Plaintiffs will file a motion for class certification under Rule 23, which Defendants intend to

26   oppose. The Parties also anticipate filing motions for summary judgment or adjudication under Rule 56.
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 1   5.        Amendment of Pleadings

 2             The Parties have no updates regarding the amendment of pleadings to bring to the Court’s

 3   attention and incorporate by reference their Statements regarding Amendment of Pleadings from the

 4   December 10, 2024, Joint Case Management Statement and Rule 26(f) Report, reserving the right to

 5   revise them as necessary.1 See ECF No. 252 at 3-4.

 6   6.        Evidence Preservation

 7             The parties have reviewed this Court’s Guidelines Relating to the Discovery of Electronically

 8   Stored Information. The parties met and conferred pursuant to Rule 26(f) on October 8, 2024, regarding

 9   preservation of evidence relevant to the issues evident in the case. The parties are aware of their

10   obligations and have taken reasonable steps to preserve potentially relevant evidence. In addition, the

11   operative ESI Protocol in this case reiterates the parties’ preservation obligations. See ECF No. 275.

12   7.        Disclosures

13             Plaintiffs and Defendants have served their Federal Rule of Civil Procedure 26(a) initial

14   disclosures. The Parties will supplement initial disclosures as necessary, consistent with Rule 26(e).

15   8.        Discovery

16                     a. Scope of Discovery

17             The Parties are continuing to meet and confer as to each side’s propounded discovery requests

18   and have no updates regarding the scope of discovery to bring to the Court’s attention. The parties
19   incorporate by reference their Statements regarding the Scope of Discovery from the December 10,

20   2024, Joint Case Management Statement and Rule 26(f) Report, reserving the right to revise them as

21   necessary. See ECF No. 252 at 4-5.

22                     b. Completion of Discovery

23             On April 28, 2025, Plaintiffs made their first production of 281 documents. The Parties are

24   continuing to meet and confer on the production of training data, including the contents, format of

25   production, and volume of production. The Parties also are continuing to meet and confer on their

26   respective written discovery requests, namely, Plaintiffs’ requests for production, including requests on
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      Plaintiffs note that the Plaintiff-Appellants have filed their opening brief in Doe, et al v. Github, Inc. et al., No. 24-7700,
     ECF No. 18 (9th Cir. Apr. 9, 2025).
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 1   training data, and Defendants’ requests for production and interrogatories. The Parties intend to meet and

 2   confer on custodians and search terms soon. The Parties also anticipate document production will begin

 3   soon. The Parties jointly agree that their efforts to further this good progress would benefit from a

 4   slightly modified schedule for discovery, which they submitted to Magistrate Judge Cisneros for her

 5   consideration on April 24, 2025. ECF No. 278 (“Joint Status Report”). In the Joint Status Report,

 6   Defendants also proposed additional interim deadlines in connection with the Parties’ proposed

 7   modifications to the discovery schedule, which Plaintiffs opposed. On April 29, 2025, Magistrate Judge

 8   Cisneros held a status conference with the parties during which the Magistrate Judge set the following

 9   deadlines (ECF No. 282):

10    Event                                                   Prior Deadline          Revised Deadline
11    Substantial completion of document discovery            July 25, 2025           October 3, 2025
12    Producing party to produce privilege logs for any       August 26, 2025         October 31, 2025
13    documents withheld on the basis of any privilege

14    to date

15    Deadline to serve FRCP 30(b)(6) notice(s)               N/A                     November 14, 2025

16    Deadline to notice any deposition(s) and                N/A                     February 13, 2026

17    subpoena(s)

18
19                  c. Preservation and Production of Electronically Stored Information

20          The parties have reviewed the Guidelines Relating to the Discovery of Electronically Stored

21   Information (“ESI Guidelines”). In accordance with Judge Cisneros’s March 19, 2025, Order, ECF No.

22   260, and Your Honor’s April 8, 2025, Order, ECF No. 267, the operative ESI Protocol in this case is

23   docketed at ECF No. 275.

24                  d. Protective Order

25          In accordance with Judge Cisneros’s March 19, 2025, Order, ECF No. 260, the operative

26   Protective Order in this case is docketed at ECF No. 276.

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 1                    e. Privilege

 2             Privilege issues, including privilege logging, are addressed in the Court’s March 19, 2025, Order.

 3   ECF No. 260. The Protective Order incorporates a Rule 502(d) agreement governing the inadvertent

 4   production of privileged materials. ECF No. 276 § 16.

 5                    f. Deposition Logistics

 6             Pursuant to Judge Cisneros’s March 19, 2025, Order, ECF No. 260, and Your Honor’s April 8,

 7   2025, Order, ECF No. 267, the operative Deposition Protocol in this case is docketed at ECF No. 274.

 8                    g. Discovery Issues and Potential Disputes

 9             The Parties do not have any current discovery disputes to raise with the Court, and are

10   continuing to meet and confer on discovery matters.

11                    h. Narrowing of Issues

12             No issues have yet been narrowed by agreement or by motion. The parties are prepared to meet

13   and confer about narrowing potential issues should the circumstances of the case change.

14   9.        Class Action

15             This case is a putative class action. Counsel for both sides have reviewed the Procedural

16   Guidance for Class Action Settlements.

17             Plaintiffs’ Statement: Plaintiffs believe that the class is so numerous that joinder of all members

18   is impracticable. Plaintiffs do not know the exact size of the class since that information is within the
19   exclusive control of Defendant. Upon information and belief, Plaintiffs believe and allege that the

20   number of class members is in the millions. Plaintiffs allege that, like all class members, their copyright-

21   protected Works were used to train Defendants’ Models. Plaintiffs allege all members of the class have

22   been similarly injured by Defendants’ conduct. Plaintiffs believe there are numerous questions of law or

23   fact common to the class, and that those issues predominate over any question affecting only individual

24   class members. These common legal and factual issues include: whether Defendants violated the

25   copyrights of Plaintiffs and the class when it downloaded copies of Plaintiffs’ copyrighted Works and

26   used them to train Defendants’ models; whether this Court should enjoin Defendants from engaging in
27   the unlawful conduct alleged herein, and the appropriate scope of that injunction; whether Defendant

28   Midjourney misappropriated Plaintiffs and Class members’ trade dress by generating images imitating

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 1   the trade dress of Plaintiffs and Class members; whether Defendant Midjourney caused confusion about

 2   Plaintiffs and Class members’ endorsement of, or affiliation with, the Midjourney product; whether any

 3   affirmative defense (including fair use) excuses Defendants’ conduct; and the amount of damages.

 4           Defendants’ Statement:

 5           This action should not be certified as a class action. Defendants are aware of no facts showing

 6   that Plaintiffs are entitled to maintain this action under Federal Rule of Civil Procedure 23(a) and (b).

 7   Defendants intend to oppose any motion for any class certification at the appropriate time.

 8   10.     Related Cases

 9           The parties are aware of one additional case brought on behalf of artists with registered

10   copyrights involving certain Defendants’ Models: Getty Images (US), Inc. v. Stability AI, Inc., No. 1:23-

11   cv-00135 (D. Del. filed Feb. 6, 2023).

12           Defendants deny that this is a related case within the meaning of Local Rule 3-12.

13   11.     Relief

14           Plaintiffs’ Statement: Plaintiffs seek statutory and other damages under 17 U.S.C. § 504 for

15   Defendants’ violations of the copyrights of Plaintiffs and the class, including an award of reasonable

16   attorneys’ fees under 17 U.S.C. § 505, 15 U.S.C. § 1117, or other applicable statutes. Plaintiffs further

17   seek destruction or other reasonable disposition of all copies Defendants made or used in violation of the

18   exclusive rights of Plaintiffs and the class, pursuant to 17 U.S.C. § 503(b). Plaintiffs seek pre- and post-
19   judgment interest on damages awarded to Plaintiffs and the class, at the highest legal rate from and after

20   January 13, 2023, the date the Complaint was first served on Midjourney, Stability AI, and DeviantArt,

21   and November 29, 2023, the date the FAC was first served on Runway.

22           Defendants’ Statement:

23           Defendants deny that Plaintiffs are entitled to any relief whatsoever. Defendants do not seek

24   relief at this time other than attorneys’ fees and costs if they prevail.

25   12.     Settlement and ADR

26           ADR Certifications pursuant to ADR Local R. 3-5(b) were filed by Plaintiffs Ellis, Brom,
27   Manchess, Rutkowski, Kaye, and Zhang on May 9, 2024 (ECF Nos. 200-203, 205-206) and by Plaintiffs

28   Andersen and Ortiz on August 16, 2023 (ECF Nos.101, 103). Defendant Stability AI filed its

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 1   certification on September 12, 2023 (ECF Nos. 109) and DeviantArt filed its certification on August 29,

 2   2023 (ECF No. 106). Defendant Runway filed its certification on October 15, 2024 (ECF No. 233).

 3   Defendant Midjourney filed its certification on October 21, 2024 (ECF No. 234). The parties continue to

 4   meet and confer on an ADR plan.

 5   13.     Other References

 6           The parties agree that this case is not suitable for binding arbitration, a special master, or the

 7   Judicial Panel on Multidistrict Litigation at this time. The parties do not oppose having discovery

 8   disputes heard by a magistrate judge if the Court is inclined to appoint a discovery magistrate.

 9   14.     Narrowing of Issues

10           Plaintiffs have voluntarily dismissed their DMCA claims pursuant to Plaintiffs’ Notice of

11   Voluntary Dismissal. ECF No. 241. No other issues have been narrowed by agreement or by motion.

12   15.     Scheduling

13               a. Expedited Trial Procedures

14           The parties agree that these Actions are inappropriate for the Expedited Trial Procedure of

15   General Order 64.

16               b. Case Schedule

17           The case schedule adopted by the Court is shown in Exhibit A to ECF No. 235, as modified by

18   ECF Nos. 240 and 282.
19   16.     Trial

20           The case will be tried before a jury. Trial has been set for April 5, 2027, at 8:30am. ECF No.

21   240. Plaintiffs anticipate a 14-day trial. Defendants believe it is premature to estimate the length of trial

22   at this time.

23   17.     Disclosure of Non-Party Interested Entities or Persons

24           Plaintiffs Andersen and Ortiz originally filed a Certification of Interested Entities or Persons on

25   January 20, 2023. ECF No. 9. Along with Plaintiffs Ellis, Brom, Manchess, Rutkowski, Kaye, and

26   Zhang, they also filed Certification of Interested Entities or Persons on April 25, 2025. ECF No. 279.
27   Certifications of Interested Entities or Persons were filed by DeviantArt on February 6, 2023. ECF No.

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 1   34; Midjourney on February 23, 2023, ECF No. 48; Stability AI on April 18, 2023. ECF Nos. 56-57; and

 2   Runway on January 10, 2024. ECF No. 150.

 3   18.      Professional Conduct

 4            All attorneys of record for the parties have reviewed the Guidelines for Professional Conduct for

 5   the Northern District of California.

 6   19.      Other Matters

 7            The parties are not presently aware of other matters that may facilitate the resolution of these

 8   cases.

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 1                             ATTESTATION PURSUANT TO CIVIL L.R. 5-1

 2          The filer attests that the other signatories listed, on whose behalf the filing is also submitted,

 3   are registered CM/ECF filers and concur in the filing’s content and have authorized the filing.

 4

 5   Dated: April 29, 2025                                          /s/ Joseph R. Saveri
                                                                        Joseph R. Saveri
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